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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION


 CAROLINA   LEONE,   AS
 PERSONAL
 RESPRESENTATIVE OF THE                  CASE NO: 3:20-CV-1166-J-34JBT
 ESTATE OF LINA GAIL
 ODOM, DECEASED,

            Plaintiff,


 vs.

 DUVAL COUNTY SHERIFF
 MIKE WILLIAMS; ARMOR
 CORRECTIONAL    HEALTH
 SERVICES, INC.; MELISSA
 PETERSON,   RN;  JAMES
 MILLER, RN; S. GROBES,
 DEPUTY;     AND     C.E.
 THOMPSON, DEUPUTY,

            Defendant.


_______________________________________/

 PLAINTIFF’S CORRECTED MOTION TO ENFORCE SETTLEMENT
                AND CONSENT JUDGMENT

       COME(S) NOW Plaintiff, CAROLINA LEONE, AS PERSONAL

RESPRESENTATIVE OF THE ESTATE OF LINA GAIL ODOM,

DECEASED, by and through her undersigned counsel to hereby file this

Motion to Enforce Settlement and Consent Judgment, and state as follows:
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   1. This matter is known to the Court as a wrongful death case arising from

      the medical care and treatment rendered to Lina Odom during her

      incarceration.

   2. On July 11, 2023, a mediation was conducted in this matter whereupon

      the parties agreed to a settlement and consent judgment based on the

      following:

         a. $128,771.40 payment from Armor Correctional Health Services,

            Inc. to be paid over 24 month period. These payments shall start

            on September 1, 2023.

         b. $41,228.56 from ProAssurance to be paid in a lump sum to Morgan

            & Morgan due in 30 days from mediation.

         c. Plaintiff agrees to nondisparaging agreement.

         d. Plaintiff agrees to 10 day cure for any late payments.

   3. The parties further agreed to a consent judgment reflecting the above

      terms.

   4. Following mediation, undersigned counsel’s office has made multiple

      attempts to obtain a proposed order for consent judgment as well as any

      releases from Defendant Armor Correctional Health Services, Inc.

   5. On August 14, 2023, undersigned counsel’s office sent counsel for the

      Defendant a proposed consent judgment and order reflecting more
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      specific terms of the settlement and consent judgment, including

      monthly payment terms.

   6. As of the filing of this motion, the Defendant has failed to comply with

      the agreed upon settlement and has failed to make any payment as

      agreed upon.

   7. By way of this Motion, the Plaintiff seeks the Court’s assistance to

      enforce the agreed upon settlement and consent judgment as the

      Defendant has otherwise failed to respond to any of undersigned

      counsel’s attempts to conclude this matter.

   8. Under Federal law, a district court has inherent power to summarily

      enforce settlement agreements entered into by parties in a pending case.

      Cia Anon Venezolana de Navegacion v Harris, 374 F.2d 33, 36 (5th Cir.

      1967). Federal courts have held under a great variety of circumstances

      that a settlement agreement once entered into cannot be repudiated by

      either party and will be summarily enforced. See, e.g., Hennessy v. Bacon

      137 U.S. 78 (1890); Kelly v. Greer, 365 F.2d 669 (3rd Cir. 1966); All States

      Investors, Inc. v. Bankers Bond Co., 343 F.2d 618 (6th Cir., 1965);

      Cummins Diesel Michigan, Inc. v. The Falcon, 305 F.2d 721 (7th Cir.

      1962); Florida Trailer & Equip. Co. v. Deal, 284 F.2d 567 (5th Cir. 1960).
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   9. Plaintiff further seeks interest on the agreed upon settlement award as

      a lump sum payment and monthly payments were to commence on or

      before September 1, 2023.

WHEREFORE Plaintiff respectfully request this Court grant Plaintiff’s Motion

to Enforce Settlement Agreement and Consent Judgment and enter in a

judgment reflecting the following terms:

      1. The parties have agreed to fully resolve and dismiss all claims in the

         Complaint styled CAROLINA LEONE, as Personal Representative of

         the Estate of LINA GAIL ODOM, Deceased, vs. ARMOR

         CORRECTIONAL HEALTH SERVICES, INC.; MELISSA PETERSON,

         RN, Case # 3:20-cv-1166-J-34JBT, filed in the Middle District Of

         Florida, Jacksonville Division for payment in the amount of

         $170,000.00. Payment by the Defendants and the Insurer on behalf of

         the Defendant shall be made as follows:

            a. Full payment of $41,228.60 (Forty One Thousand Two Hundred

               and Twenty-Eight Dollars and Sixty Cents) shall be made in

               one lump sum to Morgan & Morgan P.A. within five (5) days

               entry of this Order by the Defendant’s Insurer;

            b. The    Defendant,    ARMOR      CORRECTIONAL          HEALTH

               SERVICES, INC., shall pay $128,771.40 (One Hundred Twenty
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              Eight Thousand Seven Hundred and Seventy-One Dollars and

              Forty Cents) to be paid monthly over a period of 24 months

              (herein after referred to as “Periodic Payments”).

           c. The Periodic Payments shall total approximately $5,365.47 a

              month and start within five (5) days entry of this Order.

           d. The Periodic Payments shall be apportioned as follows:

                 i. Periodic Payments to Morgan and Morgan P.A. in the

                    amount of $3,777.35 shall be made for a period of 12

                    months.

                 ii. Periodic Payments to Carolina Leone shall be made in

                    the amount of $1,588.12 for a period of 12 months.

                iii. On September 1, 2024, a Periodic Payment shall be paid

                    only to Carolina Leona in the amount of $5,365.47. for a

                    period of 12 months.

      2. WHEREAS upon notification by Carolina Leona that any check or

        electronic funds transfer was not received, the Defendant, ARMOR

        CORRECTIONAL HEALTH SERVICES, INC., shall stop payment

        actions and upon confirmation that such check was not previously

        negotiated or electronic funds transfer deposited, shall process a

        replacement payment.
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      3. This final judgment resolves all outstanding claims. This Court

         retains jurisdiction to adjudicate any other dispute arising out of, or

         in connection with, this Consent Judgment and Order.



Respectfully submitted on this 7th day of September 2023.

                                      /s/Jack Cook
                                      Jack T. Cook, Esquire
                                      FBN 0088589
                                      Morgan & Morgan, P.A.
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                                      Attorneys for Plaintiff


                 LOCAL RULE 3.01(g) CERTIFICATION

Undersigned counsel certifies that prior to the filing of this motion undersigned

counsel has attempted to confer with counsel for Defendant regarding the

Settlement and Consent Judgment in this matter on at least three occasions

via phone calls and electronic emails. Specifically, undersigned counsel’s office,

in addition to multiple phone calls, sent correspondence on July 13, 2023, July

14, 2023, July 28, 2023, August 7, 2023, August 15, 2023, August 16, 2023,

August 22, 2023, to counsel for the Defendant and/or the Defendant’s
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insurance carrier. Counsel for Defendant ARMOR CORRECTIONAL

HEALTH SERVICES, INC. has failed to respond to undersigned counsel’s

attempts to confer on the proposed language for the settlement and consent

judgment and has otherwise failed to perform under the settlement agreement.

Based on the mediation settlement agreement, the Defendant has agreed to

the settlement terms, including the settlement amount, a lump sum payment

of $41,228.60 and periodic payments for 24 months totaling $128,771.40, and

the entry of a consent judgment.



                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on September 7, 2023, a true and correct copy

of the foregoing Motion was served via email to:

Natalie Marrero, Esquire
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Attorney for Armor Correction Health
Services, Inc.; Melissa Peterson, RN, and
James Miller, RN



                                     /s/Jack Cook
                                     Jack T. Cook, Esquire
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                                     Morgan & Morgan, P.A.
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